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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF ARKANSAS

 In Re:    Kathy Scroggins Helmstetter,                                                             No. 4:18-bk-71501
           Debtor                                                                                   (Chapter 7)

               MOTION OF RED RIVER EMPLOYEES FEDERAL CREDIT UNION FOR RELIEF
                       FROM THE AUTOMATIC STAY AND WAIVER OF 30 DAY
                                    HEARING REQUIREMENT

           The motion of Red River Employees Federal Credit Union aka Red River Federal Credit Union (“Red River”)

 respectfully represents:

          1.     This Bankruptcy Court has jurisdiction over this proceeding pursuant to 28 U.S.C., Section 1471 and 11

U. S. C., Section 362.

          2.     Red River is the owner and holder of the contracts and debt which form the basis of this motion.

          3.     Red River is the owner and holder of the following:

          a)     Motor Vehicle Installment Sales Contract dated July 28, 2015, in the original principal sum of $17,404.25

(“Note”), a true and correct copy of which is attached hereto as Exhibit “1".

          4.     Payment of the Note and credit card is secured by the following:

          a)     Security Agreement dated July 28, 2014, covering the 2013 Ford (“Property”) described therein which

is a part of the Note.

          Red River’s lien against the Property was duly perfected in accordance with state law.

          5.     Continuation of the automatic stay of 11 U. S. C., Section 362(a) will work real and irreparable harm to Red

River and will deprive Red River of the adequate protection to which it is entitled under 11 U. S. C., Section 362 and Section

363 for the following reasons among others:

          a)     The Debtor has or will surrender the Property to Red River.

          6.     Lifting of the automatic stay is proper so Red River can foreclose its lien and sell the Property.

          7.     If Red River is not permitted to foreclose its lien and sell the Property it will suffer irreparable injury, loss

and damage.

          8.     For the above and foregoing reasons, Red River asserts cause exists sufficient to waive the requirement

of Bankruptcy Rule 4001 (a)(3), therefore allowing an order to be effective upon this Honorable Court’s signature.

          WHEREFORE, Red River prays that upon final hearing of this motion an order be entered relieving it from the stay

permitting it to foreclose its lien against the Property and for such other and further relief as is just and proper.

          Dated: June 6, 2018.
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                                                                 Respectfully submitted,


                                                                 /s/ Robert S. McGinnis, Jr.
                                                                 ASB #80194
                                                                 4102 Summerhill Road
                                                                 Texarkana, TX 75503
                                                                 903/798-1717
                                                                 903/794-8911(fax)
                                                                 rsmcg51354@aol.com

                                                                 Attorney for Red River


                                            CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing instrument has been sent to Mr. William
Bake Montgomery, attorney for Debtor, P. O. Box 785, Hope, AR 71802 and Ms. Renee S. Williams, Chapter 7 Trustee,
125 Roberts Ridge Terrace, Hot Springs, AR 71901-7286 by electronic mail or U. S. regular mail on June 6, 2018.


                                                                 /s/ Robert S. McGinnis, Jr.


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